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IN THE UNITEI) STATES I)ISTRICT coURT ago gy___%__“_m
FoR THE WESTERN DISTRICT oF TENNESSEE

WESTERN DIvIsIoN 05 A!B 3| PH 2= 2b
LECTROLARM CUSTOM ) TtK)MtS M. GOUUJ
sYSTEMS, INC., ) CLERtt U.S. DtSTHtCT COlBT

) WD OF lN. MEMP¥‘B
Plaintiff, )
)
v. ) NO. 03-2330 Ma/An
)
vlcoN INI)USTRIES, INC., ec al., )
)
Defendants. )

 

ORDER GRANTING GE INTERLOGIX, INC.’S MOTION TO COMPEL
DEPOSITION TESTIMONY OF PLAINTIFF LECTROLARM CUSTOM
SYSTEMS, INC.

 

Before the Court is Defendant GE Interlogix, Inc.’s (“GE”) Motion to Cornpel Deposition
Testimony of Plaintiff Lectrolarrn Custom Systems, Inc. (“Plaintiff”) filed on June 28, 2005. For
the reasons set forth below, the Motion is GRANTED.

BACKGROUND

Plaintiff Lectrolarm Custom Systems, Inc. (“Plaintiff" or “Lectrolarrn”) initiated this
action against fourteen Defendants on May 8, 2003 alleging infringement by Defendants of a
patent owned by Plaintiff.1 Service of process was executed upon twelve of the fourteen
Defendants, and eight Defendants have since been dismissed by agreement of the parties. The

remaining four Defendants filed Answers to the Complaint and Counter~Claims.2

 

1 United States Patent Numbcr 4,974,088 (“the ‘088 patent”) relates to a remote control apparatus for
regulating the rotation of a monitoring television camera in the horizontal and vertical directions

2 The remaining four Defendants are GE Interlogix, Inc., Vicon Industries, Inc., Sensorrnatic Electronics
Corporation and Bosch Security Systems, Inc.

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Defendant Bosch Security Systems, Inc. (“Bosch”) served Plaintiff with a Rule 30(b)(6)
deposition notice in June 2004, and GE served Plaintiff with two Rule 30(b)(6) notices in
October and December 2004.3 The Court’s initial Rule l6(b) Scheduling Order provided that
each party was entitled to take fourteen hours of Rule 30(b)(6) deposition testimony, but Plaintiff
did not provide its Rule 30(b)(6) designees until after the Court instructed it to produce designees
for 14 total hours in January 2005. After the Court ordered Plaintiff to produce its designees
however, the Court modified this matter’s initial Scheduling Order in February 2005 and
permitted each party a total of 21 hours to conduct Rule 30(b)(6) depositions

After some negotiation by the parties Rule 30(b)(6) depositions occurred on May 16-18,
2005. Defendants deposed Plaintiff’s corporate designees for approximately 16.5 hours on these
three days Defendants were unsatisfied with the deposition testimony of Plaintiff’s corporate
designees including Mr. Alfred Alperin, Ms. Teresa Ford, and Mr. Gary Vanderford, so GE filed
the instant Motion requesting that the Court compel Plaintiff to produce designees to complete
the Rule 30(b)(6) depositions Defendants request Plaintiff’s designee or designees be prepared
to testify on three categories: (1) information regarding Plaintiff’s 11 licenses to the patents in
suit, (2) the Georgia Pacijic factors used to evaluate reasonable royalty fees, and (3) Lectrolarrn’s
general business operations Lectrolarrn has responded to this Motion, and provides the Court
with numerous reasons why the instant Motion should be denied. The Court will address

Plaintiff’s arguments below.

 

3Bosch noticed Plaintiff with respect to 14 topics, which are numbered 1 - 14. In order to avoid confusion,
GE‘s noticed topics are numbered from 15 - 56.

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ANALYSIS

“Parties may obtain discovery regarding any matter, not privilegcd, that is relevant to the
claim or defense of any party . . . Fed. R. Civ. P. 26(b)(1). Relevancy means that the evidence
“appears reasonably calculated to lead to the discovery of admissible evidence.” Fed. R. Civ. P.
26(b)(1); see also Coleman v. Am. Red Cross, 23 F.3d 1091, 1097 (6th Cir. 1994). The Court
should broadly interpret whether evidence is relevant See Oppenher`mer Fund, Inc. v. Sanders,
437 U.S. 340, 351 n.12 (1978) (quoting 4 J. Moore, Federal Practt'ce § 26.96[1], at 26»131 n.34
(2d ed. 1976)). Moreover, in this Circuit, the scope of discovery is extremely broad under the
Federal Rules of Civil Procedure and “is . . . within the broad discretion of the trial court.” Lewis
v. ACB Busr`ness Servs. Inc., 135 F.3d 389, 402 (6th Cir. 1998).

The instant Motion involves Rule 30(b)(6) testimony. Rule 30(b)(6) of the Federal Rules
of Civil Procedure states:

A party may in the party's notice and in a subpoena name as the deponent a public

or private corporation . . . and describe with reasonable particularity the matters

on which examination is requested. In that event, the organization so named shall

designate one or more officers, directors or managing agents, or other persons

who consent to testify on its behalf, and may set forth, for each person designated,

the matters on which the person will testify. A subpoena shall advise a non-party

organization of its duty to make such a designation The persons so designated

shall testify as to matters known or reasonably available to the organization This

subdivision (b)(6) does not preclude taking a deposition by any other procedure

authorized in these rules
Fed. R. Civ. P. 30(b)(6). Thus, when such a deposition is sought, it is incumbent upon the
organization to designate a person with knowledge of the topics to be discussed in that
depositionl In re Air Crash Disaster at Detroit Metropolitan Airport on August 16, 1987, 130

F.R.D. 627, 631 (E.D. Mich. 1989). “The corporation then must not only produce such number

of persons as will satisfy the request, but more importantly, prepare them so that they may give

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complete, knowledgeable and binding answers on behalf of the corporation.” Marker v. Um`on
Fr'deliry Life Ins. Co., 125 F.R.D. 121, 126 (M.D.N.C. 1989); see also Poole v. Textron, Inc., 192
F.R.D. 494, 504 (D. Md. 2000) (stating that counsel “should prepare the designated witness to be
able to provide meaningful information about any designated area(s) of inquiry”).

The Court has the authority to grant appropriate relief if a party fails to comply with the
requirements of Rule 30(b)(6). See Fed. R. Civ. P. 37(a)(4). “An inadequate Rule 30(b)(6)
designation amounts to a refusal or failure to answer a deposition question. Among the other
remedies, the Court can require the corporation to re-designate its Witnesses and mandate their
preparation for re-deposition at the corporation’s expense.” Marker, 125 F.R.D. at 126.

In this case, Defendants argue that Plaintiff has failed to provide a corporate designee
who can adequately respond to questions on a series of noticed topics. The purpose of Rule
30(b)(6) depositions is for parties to depose and gain factual knowledge from a corporation’s
representatives As with all discovery in this Circuit, the scope of Rule 30(b)(6) depositions is
extremely broad. The corporation, however, is free to produce whichever designee it feels
comfortable with producing, so long as the designee is sufficiently prepared and is able to
adequately respond to the topics noticed by the opposing party. y

Plaintiff first argues that Defendants have used all their allotted time for conducting Rule
30(b)(6) depositions Plaintiff notes that Defendants are entitled to review the transcripts of ten
days of Rule 30(b)(6) depositions from the Pelco litigation, but the amount of Rule 30(b)(6)
testimony from the Pelco litigation is irrelevant as to whether Plaintiff must produce corporate
designees in the instant case. As mentioned, the purpose of 30(b)(6) depositions is to elicit

discoverable information from a corporate party. Defendants in this case should be allowed to

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question Plaintiff’s corporate designees on any relevant topic. Plaintiff also argues that
Defendants have used 16.5 hours to depose its designees while the initial Scheduling Order
provided each party with only 14 hours to depose designees Plaintiff, however, neglects to
mention that a month after the Court instructed Plaintiff to produce its corporate designees for 14
hours the Court extended the time for each party to conduct Rule 30(b)(6) depositions to 21
hours Therefore, Plaintiff must still produce its designees for 4.5 additional hours

The remainder of Plaintiff’s assertions are not persuasive to the Court. Contrary to
Plaintiff’s position that discovery has closed in this case, the Court concludes that discovery is
not completely closed. Only recently, the Undersigned entered an Order stating that “the
deadlines for expert disclosures dispositive motions disclosure of witnesses and exhibits and
motions and limine should be stayed” until Judge Mays either renders a Claim Construction
decision or instructs the parties to proceed with pre-trial deadlines See Lectrolarrn Custom
Sysrems, Inc. v. Vicon Indusrries, lnc., Order (W.D. Tenn. Aug. l, 2005). Additionally, the
parties were given additional time to conduct Rule 30(b)(6) depositions in February, after the
tentative date for the close of factual discovery. Therefore, while some discovery may indeed be
closed, Defendants should not be preempted from conducting their 21 total hours of Rule
30(b)(6) depositions

In its Motion, Plaintiff also argues that it should be Lectrolarm’s “prerogative to select its
designee, not the defendants.” The Court does not disagree with Plaintiff, but Plaintiff’s
argument does not convince the Court to deny the instant Motion. The Court will not instruct
Plaintiff to produce a specific designee in response to Defendants’ noticed topics unless Plaintiff

refuses to produce the only witness who can adequately respond to a noticed topic. Defendant

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requests in its Motion that the Court compel Plaintiff to produce Mr. Gary Hoffman, Mr. Ken
Brothers, and Mr. Marty Belz for a Rule 30(b)(6) deposition, but as the Court has mentioned, it is
not the Court’s job to ordinarily compel a party to produce a specific corporate designee.4 So
long as Plaintiff produces competent witnesses for all of the deposition topics discussed below
and so long as Plaintiff prepares its designees for the deposition, Plaintiff may choose to produce
whichever witness it prefers

Plaintiff also argues that this Motion should be denied because its designees were more
than adequately prepared for the Rule 30(b)(6) depositions; however, after reviewing GE’s
Motion, the Court concludes that Plaintiff’s designees were not sufficiently knowledgeable to
respond to questions about some of the noticed topics Multiple times throughout the three days
Plaintiff’s designees appeared unprepared to answer certain questions; therefore, the instant
Motion should not be denied because of the performance of Plaintiff’s previously called
corporate designees

Plaintiff also argues in its Motion that it should not be required to produce designees for
the various deposition topics noticed by Defendants The Court, however, notes that the scope of
discovery is extremely broad under the Federal Rules of Civil Procedure and “is . . . within the
broad discretion of the trial court.” Lewis v. ACB Business Servs. Inc., 135 F.3d 389, 402 (6th
Cir. 1998). While Plaintiff argues the deposition topics relating to licenses the Georgia Pact'fic
factors and Lectrolarm’s general business practices are irrelevant, duplicative, or better handled

by expert witnesses the Court concludes that Defendants should nevertheless be entitled to

 

4Plaintiff argues in its Response that the Court's ordering of Plaintiff s trial counsel to appear at the Rule
30(b)(6) deposition would be unduly prejudicial to Plaintiff. The Court agrees with Plaintiff, and at this time,
Plaintiff should not be compelled to produce its trial counsel at the Rule 30(b)(6) deposition.

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depose corporate designees on these topics for 4.5 additional hours Defendants have the
freedom to use their Rule 30(b)(6) deposition time to elicit whatever factual information they
seek from Plaintiff’s corporate representatives and the Court will not restrict Defendants from
asking questions about potentially relevant topics As such, Plaintiff should produce corporate
designees capable of responding to questions about the remaining noticed topics.
CONCLUSION

For the reasons set forth above and for good cause shown, the Motion to Compel is
GRANTED. Plaintiff shall be required to produce a corporate designee or designees that are
capable of adequately responding to the deposition topics addressed in GE’s Motion to Compel.

Defendants shall be entitled to 4.5 additional hours of Rule 30(b)(6) testimony from Plaintiff.

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S. THOMAS ANDERSON
UNITED ST S MAGISTRATE JUDGE

Date: (SM} 301 2003/

IT IS SO ORDERED.

   

UNDITE STATES DISTRICT OURT- WE'T'NR ISTRCT oF TENNESSEE

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